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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,

              vs.

EDUARDO RAFAEL LOPEZ-ESCARREGA,
a/k/a EDWARDO E. ESCARREGA,
a/k/a EDUARDO GONSALES,

                      Defendant.
                                     /                     INDICTMENT

       The Grand Jury charges:

                                   Aggravated Felon Reentry

       On or about August 19, 2024, in Berrien County, in the Western District of Michigan,
Southern Division,
                        EDUARDO RAFAEL LOPEZ-ESCARREGA,
                           a/k/a EDWARDO E. ESCARREGA,
                              a/k/a EDUARDO GONSALES,

being an alien who had previously been removed after having been convicted of an aggravated

felony offense, was found in the United States without having obtained the express prior consent

of the Attorney General or the Secretary of Homeland Security to return or reapply for

admission.

8 U.S.C. § 1326(a)
8 U.S.C. § 1326(b)(2)
8 U.S.C. § 1101(a)(43)(B), (O)
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                                          A TRUE BILL


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                                          GRAND JURY FOREPERSON
MARK A. TOTTEN
United States Attorney


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DONALD DANIELS
Assistant United States Attorney
